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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-0193V
                                    Filed: November 16, 2018
                                         UNPUBLISHED


    WILLIAM HENDERSON and RHONDA
    HENDERSON, as the Natural Parents
    and Guardians of A.H., a minor,                           Special Processing Unit (SPU);
                                                              Ruling on Entitlement; Concession;
                         Petitioners,                         Table Injury; Tetanus Diphtheria
    v.                                                        acellular Pertussis (Tdap) Vaccine;
                                                              Human Papillomavirus (HPV)
    SECRETARY OF HEALTH                                       Vaccine; Vasovagal Syncope
    AND HUMAN SERVICES,

                        Respondent.


Rudolph L. Massa, Massa Law Group, Pittsburg, PA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On February 7, 2018, William and Rhonda Henderson (“petitioners”) filed a
petition for compensation under the National Vaccine Injury Compensation Program, 42
U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”) on behalf of their minor daughter, A.H.
Petitioners allege that A.H. developed vasovagal syncope upon receiving tetanus-
diphtheria-acellular pertussis (“Tdap”) and human papillomavirus (“HPV”) vaccines on
August 19, 2016, which resulted in “residual effects and complications of a fall and

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  The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

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associated concussion.” See Petition at 1-4. Specifically, petitioners alleged that A.H.
continues to suffer a “lump on her head, i.e., she remains disfigured” as a result of the
syncope she suffered following her vaccinations. Id. at 4. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On November 15, 2018, respondent filed his Rule 4(c) report in which he
concedes that petitioners are entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states “that petitioners have satisfied the
criteria set forth in the recently revised Vaccine Injury Table (Table) and the
Qualifications and Aids to Interpretation (QAI), which afford petitioners a presumption of
causation because the onset of A.H.’s vasovagal syncope occurred within one hour
after a Tdap and/or HPV vaccination and there is no apparent alternative cause.” Id. at
5. Respondent further agrees that “A.H. experienced more than six months of residual
effects of her vasovagal syncope.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioners are entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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